Case 21-30085-hdh11 Doc 157 Filed 02/12/21                    Entered 02/12/21 16:49:17             Page 1 of 3



    Louis R. Strubeck, Jr. (SBT 19425600)
    Kristian W. Gluck (SBT 24038921)
    Laura L. Smith (SBT 24066039)
    NORTON ROSE FULBRIGHT US LLP
    2200 Ross Avenue, Suite 3600
    Dallas, TX 75201-7932
    Telephone: (214) 855-8000
    Facsimile: (214) 855-8200
    kristian.gluck@nortonrosefulbright.com
    louis.strubeck@nortonrosefulbright.com
    laura.smith@nortonrosefulbright.com

    PROPOSED COUNSEL FOR THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    In re:                                                         §    Chapter 11
                                                                   §
    NATIONAL RIFLE ASSOCIATION OF AMERICA                          §    Case No. 21-30085-hdh11
    AND SEA GIRT LLC,                                              §
                                                                   §
                      Debtors 1.                                   §    Jointly Administered

                   NOTICE OF APPEARANCE UNDER FED. R. BANK. P. 9010(b)
                      AND REQUEST FOR ALL COPIES AND PLEADINGS
                      PURSUANT TO FED. R. BANKR. P. 2002 AND 3017(a)

             PLEASE TAKE NOTICE that the undersigned hereby appear as proposed counsel for the

Official Committee of Unsecured Creditors (the “Committee”) in the cases of the above-captioned

debtors and debtors-in-possession (the “Debtors”) pending under chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”). Pursuant to section 1109(b) of the Bankruptcy Code

and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure, the Committee, by and through

its undersigned counsel, requests that all notices given or required to be given and all papers served

or required to be served by U.S. Mail or by email in the above-captioned case be given to and

served upon:


1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
Case 21-30085-hdh11 Doc 157 Filed 02/12/21              Entered 02/12/21 16:49:17          Page 2 of 3




                                   Scott Drake (SBT 24026812)
                                  Nick Hendrix (SBT 24087708)
                              NORTON ROSE FULBRIGHT US LLP
                                  2200 Ross Avenue, Suite 3600
                                      Dallas, TX 75201-7932
                                     Telephone: (214) 855-8000
                                     Facsimile: (214) 855-8200
                               scott.drake@nortonrosefulbright.com
                              nick.hendrix@nortonrosefulbright.com

        This request encompasses all notices, copies and pleadings referred to in section 1109(b)

of Title 11, United States Code or in Rules 2002, 3017 or 9007 of the Bankruptcy Rules of

Procedure, including, without limitation, notices of any orders, motions, demands, complaints,

petitions, pleadings, plans of reorganization, disclosure statements, requests, or applications, and

any other documents brought before this Court in these cases, whether formal or informal, written

or oral, or transmitted or conveyed by mail, delivery, telephone, telex or otherwise which affect or

seek to affect the above cases.

        Request is also made that the attorneys identified herein be added to the official service list

for notice of all contested matters, adversary proceedings, and other proceedings in the above-

captioned cases.

        Neither this Request for Notice nor any subsequent appearances, pleadings, claims,

documents, suits, motions nor any other writings or conduct, shall constitute a waiver of such

party’s (a) right to have any and all final orders in any and all non-core matters entered only after

de novo review by a United States District Court Judge; (b) right to trial by jury in any proceeding

as to any and all matters so triable herein, whether or not the same be designated legal or private

right, or in any case, controversy or proceeding related hereto, notwithstanding the designation

vel non of such matters as “core proceedings” pursuant to 28 U.S.C. § 157 (b)(2)(H), and whether

or not such jury trial right is pursuant to statute or the United States Constitution; (c) right to have

the reference of this matter withdrawn by the United States District Court in any matter or


                                                   2
Case 21-30085-hdh11 Doc 157 Filed 02/12/21            Entered 02/12/21 16:49:17       Page 3 of 3




proceeding subject to mandatory or discretionary withdrawal; and (d) other rights, claims, actions,

defenses, setoffs, recoupments or other matters to which the Committee is rightly entitled under

any agreements or at law or in equity or under the United States Constitution.

       All of the above rights are expressly reserved and preserved unto the Committee without

exception and with no purpose of confessing or conceding jurisdiction in any way by this filing or

by any other participation in this matter.

 Dated: February 12, 2021                           Respectfully submitted,

                                                    NORTON ROSE FULBRIGHT US LLP

                                                    By: /s/ Laura L. Smith
                                                    Louis R. Strubeck, Jr. (SBT 19425600)
                                                    Kristian W. Gluck (SBT 24038921)
                                                    Laura L. Smith (SBT 24066039)
                                                    2200 Ross Avenue, Suite 3600
                                                    Dallas, Texas 75201-7932
                                                    Tel: (214) 855-8000
                                                    Facsimile: (214) 855-8200
                                                    kristian.gluck@nortonrosefulbright.com
                                                    louis.strubeck@nortonrosefulbright.com
                                                    laura.smith@nortonrosefulbright.com

                                                    Proposed Counsel to the Official Committee of
                                                    Unsecured Creditors


                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Appearance was served upon the counsel and parties of record, electronically through
the Bankruptcy Court’s Electronic Case Filing System on those parties that have consented to such
service, on the 12th day of February, 2021.

                                                         /s/ Laura L. Smith.
                                                         Laura L. Smith




                                                3
